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 9 Counsel for Plaintiff Epic Games, Inc.

10

11                              UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

13                                  SAN FRANCISCO DIVISION

14

15 IN RE GOOGLE PLAY STORE                      Case No. 3:21-md-02981-JD
   ANTITRUST LITIGATION
16                                              JOINT NOTICE REGARDING FURTHER
   THIS DOCUMENT RELATES TO:                    REMEDIES PROCEEDINGS
17
   Epic Games Inc. v. Google LLC et al., Case
18 No. 3:20-cv-05671-JD                         Judge:   Hon. James Donato

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                     JOINT NOTICE REGARDING FURTHER REMEDIES PROCEEDINGS
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 1          The parties respectfully submit this joint statement regarding further proceedings.

 2      1. Post-Trial Motions
 3          Google’s Position. Google requests oral argument on Google’s post-trial motions. ECF

 4 No. 925. Google notes that its lead counsel will not be available the week of March 11, but,

 5 notwithstanding that conflict, Google can appear for argument at any time that is convenient for

 6 the Court.

 7          Epic’s Position. Epic takes no position on Google’s request.

 8      2. Date for Expert Hearing
 9          The parties understand that the Court wishes to hear directly from the expert economist

10 trial witnesses about their respective views on the appropriateness of the parties’ remedy

11 proposals. To assist in scheduling the hearing, the parties hereby advise the Court that the experts

12 have pre-existing travel or other professional commitments on the following dates and respectfully

13 request that the Court consider those conflicts in setting a hearing date:

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15                              Month                        Dates Unavailable
16                              March            3/20-3/31
17                               April           4/1-4/12, 4/17-4/19, 4/23-4/30
18                               May             5/1-5/3, 5/16-5/20, 5/27-5/30
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20          Google’s Position. Google’s experts will be Dr. Matthew Gentzkow (who served as
21 Google’s qualified economist at trial) and Dr. Gregory Leonard (who served as Google’s qualified

22 damages expert at trial). Dr. Gentzkow and Dr. Leonard will address distinct and non-overlapping

23 subjects, and Google will identify those subjects in its responsive expert statements in advance of

24 the expert hearing. Dr. Gentzkow and Dr. Leonard are available on any dates through the mid-

25 May 2024, except March 28 – April 7 (Leonard conflict) and May 16-20 (Gentzkow conflict). If

26 the Court would prefer to hold the expert hearing after mid-May 2024, then Google would be glad
27 to provide its expert availability for that time.

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 1          Epic argues that Dr. Leonard should not be permitted to testify at the expert hearing.

 2 However, the Court’s order specifically noted that it would appreciate hearing from Dr. Leonard at

 3 the forthcoming expert hearing. ECF No. 917 at 2. Google is not attempting to expand the scope

 4 of Dr. Leonard’s charge, and neither of Epic’s experts offered opinions on remedies in this case.

 5 To the extent Epic’s proposed injunction or new analysis performed by Epic’s experts require

 6 additional analysis from Google, Google would like the option to ask Dr. Leonard to perform

 7 some of the non-duplicative responsive analyses. Epic does not challenge Dr. Leonard’s

 8 qualifications as an economist, and he previously provided an expert report and testified at an

 9 expert proceeding on consumer injury and damage models offered by plaintiffs’ experts. See ECF

10 No. 588 (Order re Merits Op. of Dr. Hal Singer). Should the Court decide that it does not want to

11 hear from more than one economist, Google respectfully requests that it be permitted to call Dr.

12 Gentzkow as its economist, as Dr. Gentzkow was Google’s testifying economist at trial.1

13          Google understands that Epic may call Dr. Steven Tadelis (in addition to Dr. Bernheim),

14 and that Epic will submit expert statements prior to the expert proceeding regarding their experts’

15 opinions. Google intends to do the same for its experts in response, as the Court has

16 ordered. ECF No. 917 at 2.

17          Epic’s Position. Epic intends to have Dr. Douglas Bernheim appear at the hearing.

18 Depending on the positions that Google takes, Epic may also have Dr. Steven Tadelis appear to
19 address issues related to payments that he addressed at trial.

20          Epic objects to Google’s intent to call its damages expert, Dr. Gregory Leonard, who

21 testified at trial only as to the simple arithmetic underlying Google’s damages for breach of

22 contract. Dr. Leonard did not submit a report, and did not testify at trial, regarding any questions

23 of antitrust economics that would be relevant to the “issue of an appropriate conduct remedy in

24 light of the jury’s findings”. ECF No. 917 (Jan. 18, 2024). Even now, Google refuses to disclose

25 the brand new topics it intends to have Dr. Leonard address.

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    If the Court does not want Dr. Leonard to appear, Google’s expert availability will include any
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28 dates except May 16-20.
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 1          During trial, Google made the same attempt to expand the scope of Dr. Leonard’s charge

 2 and have him testify on issues on which he was disclosed as an expert in the related cases but not

 3 in this case. The Court rejected that effort as “[a] day late and a dollar short”. Trial Tr. 2780:12-

 4 18. Consequently, at trial, Dr. Leonard was offered by Google and qualified by this Court on a

 5 single topic: damages. Id. 3112:22-25. Now, despite this Court’s admonition that it wishes to

 6 hear from witnesses who have “been qualified” during trial (Jan. 18, 2024 Hr’g Tr. 23:3), Google

 7 is trying to go a step further and have Dr. Leonard address matters he has not been qualified on

 8 and that go beyond the topics covered even in his report in the State and Consumer actions, which

 9 were limited to consumer injury and monetary damages. The Court has stated that it would like to

10 hear from “someone who was in the trial” and that it does not “want a new person, about potential

11 remedies”. Jan. 18, 2024 Hr’g Tr. 9:25-10:1. Epic objects to Google’s effort to substitute in a

12 new expert on antitrust economics at this stage of the proceedings.

13      3. Schedule for Expert Statements in Advance of Expert Hearing
14          The Court ruled that, once it sets an expert hearing, Epic shall file, two weeks before the

15 hearing, “a proposed injunction together with brief statements in support drafted by the experts

16 Epic intends to call” and that Google shall respond “one week after that (and one week before the

17 hearing).” ECF No. 917 (Jan 18, 2024).

18          Google’s Position. Google respectfully requests that, instead of one week, the Court
19 provide Google with at least three weeks to respond to Epic’s expert statement. Epic will have

20 had many weeks to prepare its expert statement, and Google requests a reasonable opportunity to

21 respond fully to Epic’s submission. Google submits that, given the potential far-reaching effects

22 of any proposed injunctive relief, the economic issues relating to multiple markets that will be

23 need to be addressed by Google’s experts, and the need to explain the potential effect of any

24 proposed remedies on competition, additional time will allow the economists and parties to

25 sharpen their presentation of the issues to the Court.

26          Epic’s Position. Epic takes no position on Google’s request, but asks that, if Google’s
27 request is granted, it receive commensurate time before the evidentiary hearing to review and

28 prepare to address Google’s “brief statement in support” drafted by its expert.
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 1      4. Process Following the Expert Hearing
 2          Google’s Position. Google respectfully requests that the Court permit the submission of

 3 additional briefing on Epic’s proposed injunction following the expert hearing. Post-hearing

 4 briefing will allow the parties to address any additional questions the Court may raise during or

 5 after the hearing that were not addressed in the pre-expert hearing submissions. Additional

 6 briefing will also allow the parties to apply the legal framework for antitrust remedies and private

 7 injunctive relief to the specific remedies proposed by Epic. Briefing could assist the court in

 8 understanding whether particular remedies proposed by Epic are consistent with the law, whether

 9 equitable factors including the public interest factor and the irreparable harm factor support Epic’s

10 proposed remedies, and whether Epic’s proposed remedies are supported by the factual record.

11          In addition, depending on the contents of Epic’s injunctive relief proposal, its expert

12 submission, or any disputed issues raised at the expert hearing, Google may also seek to submit

13 evidence that was not presented at trial, to ensure that the Court has an adequate record upon

14 which to fashion an injunction. See United States v. Microsoft Corp., 253 F.3d 34 (D.C. Cir.

15 2001) (“Other than a temporary restraining order, no injunctive relief may be entered without a

16 hearing. A hearing on the merits—i.e., a trial on liability—does not substitute for a relief-specific

17 evidentiary hearing unless the matter of relief was part of the trial on liability, or unless there are

18 no disputed factual issues regarding the matter of relief.”). Google understands that the Court
19 wishes to hear from the parties’ experts at the expert hearing, but anticipates that, depending on

20 Epic’s proposals and expert submission, the experts may not be able to address all relevant

21 disputed factual issues.

22          Epic’s Position. Epic believes that Google’s request for post-hearing briefing and an

23 opportunity to submit new evidence are premature. These matters should be assessed after the

24 forthcoming expert submissions and hearing, when the relevant issues are further crystallized for

25 the Court, and taking into account the need to avoid undue delay in remedying Google’s unlawful

26 conduct.
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 1 DATED: March 1, 2024                CRAVATH, SWAINE & MOORE LLP

 2

 3
                                      By: s/ Gary A. Bornstein
 4                                       Gary A. Bornstein (pro hac vice)
                                         Counsel for Plaintiff Epic Games, Inc.
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 6

 7 DATED: March 1, 2024                MUNGER, TOLLES & OLSON LLP

 8
                                      By: s/ Glenn D. Pomerantz
 9                                       Glenn D. Pomerantz
10                                       Counsel for Defendants Google LLC et al.

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12 DATED: March 1, 2024                MORGAN, LEWIS & BOCKIUS LLP
13

14                                    By: s/ Brian C. Rocca
                                         Brian C. Rocca
15                                       Counsel for Defendants Google LLC et al.
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 1                               CIVIL L.R. 5-1(i)(3) ATTESTATION
 2         Pursuant to Civil L.R. 5-1(i)(3), the filer of this document attests that concurrence in the

 3 filing of the document has been obtained from each of the other signatories.

 4                                                 By: s/ Glenn D. Pomerantz
                                                       Glenn D. Pomerantz
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